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AO 245D (Rev 09/17) Judgment in a Criminal Case for Revocations
                    Sheet 1

                                          UNITED STATES DISTRICT COURT
                                                            District of New Mexico

                  UNITED STATES OF AMERICA                               Judgment in a Criminal Case
                                                                         (For Revocation of Probation or Supervised Release)
                                    V.
                      Glenn Gene Fernandez                               Case Number: 1:16CR00838-001JB
                                                                         USM Number: 84251-051
                                                                         Defendant’s Attorney: Irma Rivas, Appointed

THE DEFENDANT:

☒     admitted guilt to violations of condition(s) SC, SC of the term of supervision.
☐     was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number                 Nature of Violation                                                 Violation Ended

Standard Condition               The defendant failed to report to the probation office in the 09/22/2017
                                 federal district where he was authorized to reside within 72
                                 hours of his release from imprisonment.


The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has not violated condition(s) and is discharged as to such violation(s).

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

6998                                                                    November 15, 2017
Last Four Digits of Defendant’s Soc. Sec. No.                           Date of Imposition of Judgment


1969                                                                    /s/ James O. Browning
Defendant’s Year of Birth                                               Signature of Judge




                                                                        Honorable James O. Browning
Albuquerque, NM                                                         United States District Judge
City and State of Defendant’s Residence                                 Name and Title of Judge

                                                                        February 7, 2018
                                                                        Date
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                    Sheet 1A                                                                                     Judgment - Page 2 of 7



DEFENDANT: Glenn Gene Fernandez
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                                                      ADDITIONAL VIOLATIONS
Violation Number                 Nature of Violation                                           Violation Ended

Standard Condition               The defendant failed to follow the instructions of the        09/22/2017
                                 probation officer related to the conditions of supervision.
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                    Sheet 2 - Imprisonment



DEFENDANT: Glenn Gene Fernandez
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                                                              IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: 11 months.

Although advisory, the Court has considered the Guidelines and, in arriving at its sentence, has taken account of the
Guidelines with other sentencing goals. Specifically, the Court has considered the Guidelines' sentencing range established for
the applicable category of offense committed by the applicable category of Defendant. The Court believes that the Guidelines'
punishment is appropriate for this sort of offense. Therefore, the sentence in this judgment is consistent with a guideline
sentence. The Court has considered the kind of sentence and range established by the Guidelines. The Court believes that a
sentence of 11 months reflects the seriousness of the offense, promotes respect for the law, provides just punishment, affords
adequate deterrence, protects the public, avoids unwarranted sentencing disparities among similarly situated defendants,
effectively provides the Defendant with needed education or vocational training and medical care, and otherwise fully reflects
each of the factors embodied in 18 U.S.C. Section 3553(a). The Court also believes the sentence is reasonable. The Court
believes the sentence is sufficient, but not greater than necessary, to comply with the purposes set forth in the Sentencing
Reform Act.

☐ The court makes the following recommendations to the Bureau of Prisons:




☒     The defendant is remanded to the custody of the United States Marshal.
☐     The defendant shall surrender to the United States Marshal for this district:
      ☐ at on .
      ☐ as notified by the United States Marshal.
☐     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      ☐ before 2 p.m. on .
      ☐ as notified by the United States Marshal.
      ☐ as notified by the Probation or Pretrial Services Office.

                                                                  RETURN

I have executed this judgment as follows:




Defendant delivered on                                                                                         to
                                                   at                                with a certified copy of this judgment.




                                                                                  UNITED STATES MARSHAL

                                                                                  By
                                                                                  DEPUTY UNITED STATES MARSHAL
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AO 245D (Rev 09/17) Judgment in a Criminal Case for Revocations
                    Sheet 3 Supervised Release                                                                                 Judgment - Page 4 of 7



DEFENDANT: Glenn Gene Fernandez
CASE NUMBER: 1:16CR00838-001JB


                                                         SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: 60 months .

                                                         MANDATORY CONDITIONS

1.   You must not commit another federal, state, or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
        ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
               future substance abuse. (Check, if applicable.)
4.   ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.   ☒     You   must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable)
6.   ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state, local, or tribal sex offender registration agency in the location
           where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.   ☐ You must participate in an approved program for domestic violence. (Check, if applicable)


                                              STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release
     from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when
     you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the
     probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you
     from doing so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities),
     you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is
     not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or
     expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
     of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation
     officer.
9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
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10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
    getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require
    you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and
    confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.
14. The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. 16901, et seq.) as
    directed by the probation officer, the Bureau of Prisons, or any local, state, tribal, or federal registration agency in the jurisdiction in
    which he or she resides, works, or is a student. For initial registration purposes only, a sex offender shall also register in the jurisdiction
    in which convicted if such jurisdiction is different from the jurisdiction of residence;
15. The defendant shall waive his/her right of confidentiality and allow the treatment provider to release treatment records to the probation
    officer and sign all necessary releases to enable the probation officer to monitor the defendant`s progress. The probation officer shall
    disclose the presentence report and/or any previous sex offender or mental health evaluations to the treatment provider;
16. The defendant shall submit to a search of person, property, house, residence, vehicles, documents, businesses, computers, and other
    electronic communications or data storage devices or media effects [as defined in 18 U.S.C. 1030(e)(1)], at any time, by a probation
    officer with reasonable suspicion concerning a violation of a condition of probation or supervised release, or unlawful conduct by the
    person, in the lawful discharge of the officer`s supervision functions. The defendant shall inform any other occupants that the premises
    may be subject to searches pursuant to the condition. Failure to submit to a search may be grounds for revocation of supervision;
17. The defendant shall not have any direct or indirect contact or communication with the victim or his or her family, or go near or enter the
    premises where the victim or his or her family resides, is employed, attends school or treatment, except under circumstances approved in
    advance and in writing by the probation officer.
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                    Sheet 5 – Special Conditions                                               Judgment - Page 6 of 7


DEFENDANT: Glenn Gene Fernandez
CASE NUMBER: 1:16CR00838-001JB


                                           SPECIAL CONDITIONS OF SUPERVISION

You must not use or possess alcohol.

You must not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive
substances (e.g., synthetic cannabinoids, synthetic cathinones, etc.) that impair your physical or mental
functioning, whether or not intended for human consumption.

You must participate in a mental health treatment program and follow the rules and regulations of that
program. The probation officer, in consultation with the treatment provider, will supervise your
participation in the program. You may be required to pay all, or a portion, of the costs of the program.

You must reside in a residential reentry center for a term of 6 months. You must follow the rules and
regulations of the center.

You must undergo a sex offense-specific assessment to determine the level of risk for sexual
dangerousness, recidivism, and amenability to treatment and formulate treatment recommendations if
treatment is necessary. You may be required to pay all, or a portion of the cost of the assessment.

If recommended in the sex offense-specific assessment, you must begin attending and participating in sex
offender treatment consistent with the recommendations of the evaluation. You must follow the rules
and regulations of that program. The probation officer, in conjunction with the treatment provider, will
supervise your participation in the program (location, modality, duration, intensity, etc.). Furthermore,
you must submit to clinical polygraph examinations, as directed by the probation officer and/or
treatment provider. You may be required to pay a portion or all of the cost of the assessments and
treatment.

You must participate in an outpatient substance abuse treatment program and follow the rules and
regulations of that program. The probation officer will supervise your participation in the program
(provider, location, modality, duration, intensity, etc.). You may be required to pay all, or a portion, of
the costs of the program.

You must submit to substance abuse testing to determine if you have used a prohibited substance.
Testing may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, an
alcohol monitoring technology program, and/or any form of prohibited substance screening or testing.
You must not attempt to obstruct or tamper with the testing methods. You may be required to pay all, or
a portion, of the costs of the testing.

The Defendant must not possess a firearm, ammunition, destructive device, or any other dangerous
weapon.




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A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release Conditions,
available at: www.uscourts.gov.




   Defendant’s Signature                                                                      Date
